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 Chad R. Moody, ISB: 9946
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 Email: mtc@angstman.com
         chad@angstman.com

 Attorneys for Debtor in Possession

                            UNITED STATES BANKRUPTCY COURT

                                        DISTRICT OF IDAHO

 In re:                                               Case No. 20-40734-JMM

 DEWIT DAIRY,                                         Chapter 11

                            Debtor.



                      DEBTOR-IN-POSSESSION’S BALLOT SUMMARY


          DeWit Dairy (the “Debtor”), the Debtor-in-Possession and the Plan proponent under the

 Chapter 11 Plan, dated February 28, 2021 (Docket No. 127) (the “Chapter 11 Plan”), by and

 through its counsel of record, Angstman Johnson, hereby submits this written summary of the

 ballots cast. Copies of the ballots received are attached hereto as Exhibit A.


          This is a Chapter 11 case. Pursuant to 11 U.S.C. §1129, in order for a plan to be confirmed,

 each class of claims or interests must (A) accept as a class the plan, or (B) be an impaired class

 that is not discriminated against and treated fairly and equitably as a class. This form therefore




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 notes each class that is not impaired under the plan.1 This form further provides, for each impaired

 class, a summary of the ballots cast accepting and rejecting the plan.


                                           SUMMARY OF BALLOTS


                                                                              Amount of
              No.              Creditor Name                   Class                              Accept     Reject
                                                                               Claim

              1        Argo Partners (as Assignee)               6           $243,434.39               X

              2                  Tony DeWit                      7           $250,000.00               X

              3         Standard Dairy Consultants               6           $536,615.93               X

              4         Sawtooth Dairy Specialties               6             $8,754.40               X

              5         Oak Valley Dairy, LLC (as                6           $402,355.23                       X
                               Assignee)

              6        Intermountain Animal Health               6            $54,620.47               X

              7             Gavilon Grain, LLC                   6            $28,776.99               X

              8          Gavilon Ingredients, LLC                6            $17,999.51               X

              9         Clear Creek Properties, Inc.             6           $370,000.00               X

              10         Black Cat Pellet Mill, Inc.             6             $4,878.78               X

              11               Tracy Wilhelm                     7            $50,000.00               X

              12           KeyBank Nat’l Assoc.                  6           $801,251.49               X




            Pursuant to 11 U.S.C. §1126(c), only the actual ballots cast on the Chapter 11 Plan are

 counted to determine whether a given class has accepted or rejected.2 That section further provides



 1
     A class that is not impaired is conclusively presumed to have accepted the plan under §1126(f).
 2
     See 7 Collier on Bankruptcy §1126.04, §1129.02[8] (Alan N. Resnick & Henry J. Sommer eds., 16th ed. 2010).



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 that a class will have accepted the plan if voting creditors with allowed claims in such class holding

 at least two-thirds in amount and more than one-half in number have accepted the plan.3 The form

 below tabulates the actual ballots received by the class, and for each such class, presents the

 Debtor’s assertion of the percentage in number of class members holding allowed claims accepting

 the plan and the percentage of the dollar amount of the class members accepting the plan.

                                                                                                                      Percentage
                                      Total ballots
                                                          Number of filed       Percentage      Amount of filed           of
                         Class     filed by members
                                                        ballots accepting the       of        ballots accepting the    accepting
     Class (per plan   impaired?    of class holding
                                                            plan (A) and        accepting         plan (A) and        ballots (in
      designation)                  allowed claims;
                                                         rejecting the plan     ballots (in    rejecting the plan       amount)
                                    total amount ($)
                                                                 (R)             number)               (R)
                                     of ballots filed


     1                                                  (A) 0                                 (A) $0.00
                       Yes         0                                            100%                                  0%
     (unsecured)                                        (R) 0                                 (R) $0.00

     2                                                  (A) 0                                 (A) $0.00
                                   0 (previously
                       No                                                       0%                                    0%
                                   paid)
     (secured)4                                         (R) 0                                 (R) $0.00

     3                                                  (A) 0                                 (A) $0.00
                                   0 (previously
                       No                                                       0%                                    0%
                                   paid)
     (secured)                                          (R) 0                                 (R) $0.00

     4                                                  (A) 0                                 (A) $0.00
                                   0 (previously
                       No                                                       0%                                    0%
                                   paid)
     (secured)                                          (R) 0                                 (R) $0.00

     5                                                  (A) 0                                 (A) $0.00
                                   0 (previously
                       No                                                       0%                                    0%
                                   paid)
     (secured)                                          (R) 0                                 (R) $0.00

     6                                                  (A) 9                                 (A) $2,066,331.96
                                   10
                       Yes                                                      90%                                   84%
                                   ($2,468,687.19)
     (Unsecured)                                        (R) 1                                 (R) $402,355.23

     7                                                  (A) 2                                 (A) $300,000.00
                       Yes         2 ($300,000)                                 100%                                  100%
     (Unsecured)                                        (R) 0                                 (R) $0.00



 3
  Section 1126(c) reads, in its entirety, as follows: “A class of claims has accepted a plan if such plan has been accepted
 by creditors, other than any entity designated under subsection (e) of this section, that hold at least two-thirds in
 amount and more than one-half in number of the allowed claims of such class held by creditors, other than any entity
 designated under subsection (e) of this section, that have accepted or rejected such plan.”
 4
   Classes 2, 3, 4 and 5 were fully paid with the sale of the Debtor’s real property. The Plan does not propose any
 further payment to these classes.


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  8                                       (A) 0                       (A) $0.00
                Yes       0                                 0%                          0%
  (Unsecured)                             (R) 0                       (R) $0.00




         In sum, then, all classes that voted accepted the Debtors’ proposed Chapter 11 Plan.



         DATED this 16th day of September, 2021.

                                                         /s/ Matt Christensen
                                                  MATTHEW T. CHRISTENSEN
                                                  Attorney for Debtor




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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 16th day of September, 2021, I filed the
 foregoing BALLOT SUMMARY electronically through the CM/ECF system, which caused the
 following parties to be served by electronic means, as more fully reflected on the Notice of
 Electronic Filing:

        Matthew T. Christensen                      mtc@angstman.com
        Sheila Rae Schwager                         sschwager@hawleytroxell.com
        US Trustee                                  ustp.region18.bs.ecf@usdoj.gov
        David W. Gadd                               dwg@magicvalleylaw.com
        Patrick J. Geile                            pgeile@foleyfreeman.com
        David A. Heida                              dheida@whitepeterson.com
        Andrew S. Jorgensen                         Andrew.jorgensen@usdoj.gov
        Chad R. Moody                               chad@angstman.com
        Aaron J. Tolson                             ajt@aaronjtolsonlaw.com


        Any others as listed on the Court’s ECF Notice.




                                                   /s/ Matt Christensen
                                               MATTHEW T. CHRISTENSEN




 DEBTORS-IN-POSSESSION’S BALLOT SUMMARY – Page 5
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 Attorney for Debtorin Possession

                            UNITED STATES BANKRUPTCY COURT

                                        DISTRICT OF IDAHO

 In re:
                                                   CaseNo. 20-40734-JMM

                                                   Chapter 11
DEWIT DAIRY,

                        Debtor.




                     BALLOT FOR ACCEPTING OR REJECTING PLAN

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BALLOT FOR ACCEPTING OR REJECTING PLAN - Page 1
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                       ACCEPTANCEORREJECTIONOF THE DEWITDAIRY'SLI UIDATINGPLAN

                           The undersigned, anCj unsecured, ( ) secured creditor ofthe above-named Debtor in the
               unpaid principal amount of$                        4^ . /S ,

                               Accepts
                           ( ) Rejects

               the Plan of the above-named Debtor.
                                                                                                                 ^I/
               Print ortvoe nameofbusiness/individual: A<" ^>Ar<TM(&<l^                            ASS^ v\<&A-
               Signed:                                                                   '1
               By (ifappropriate):                                         u     S. ^A<T
               Its (state nature ofposition, if appropriate):
               Address:                                                  IX ^l«to( Yt . Sfr< <?<^>
                                                                          < <^    o    <- N      <ro/&




               THIS BALLOT MUST BE RETURNED TO THE FOLLOWINGADDRESS ON OR
               BEFORESe tember 10 2021.

                           Matthew T. Chnstensen
                                                                                                                   »<J*-tA<
                           ANGSTMANJOHNSON
                           199 N. Capitol Blvd, Ste 200                  ^ ^°r'
                                                                           ;
                           Boise, ID 83702                                       <CU(M. ^ .
                           Fax:(208)629-2157
                           Email: mtc@angstman.com                       GDci^y^^^^^v^^ ?2~!i'2^
                                  PAULS. BERG
                                                                         ^^\r^<^o^^cuC  ^(^^.'
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                    < 4'                                             »    (TC_        SA ^\CAS ^ ^t<.sc\
 ^ \.          v '"^              12 West 37A Street, 9th floor
as ^            ^ ' -f^
                            c/s
                                  NewYork, N.Y. 10018
                                  phone:(212) 643*5457               e ^Y A&                  |^OS~l. '?c\
                                  fax: (212) 643*6401
                                                                     .  t^<-ft^W<Civ\CLpV ^% ^^, fc80. 4^
                                  email:paul@>argopartners.net         '^Oc^MS^l^M_^^AA^. ^tfllS. %> ^
    .
        argopartners-net



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 Attorney for Debtorin Possession

                            UNITED STATES BANKRUPTCY COURT

                                      DISTRICT OF IDAHO

 In re:
                                                  CaseNo. 20-40734-JMM

                                                  Chapter 11
DEWIT DAIRY,

                        Debtor.




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BALLOT FOR ACCEPTING OR REJECTING PLAN - Page 1
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      ACCEPTANCE OR REJECTION OF THE DEWIT DAIRY'S LI UIDATENG PLAN

           Theundersigned,an^ unsecured,( ) securedcreditoroftheabove-namedDebtorinthe
 unpaidprincipal amount of$ 5 3^» <2>15. ,
           ^T Accepts
           ( ) Rejects

 the Plan of the above-named Debtor.

 Print ortype name ofbusiness/individual:         ^T^A» 4e&          (J         LLe.
 Signed:
 By (if appropriate): . J'. ^-lft^
 Its (state nature ofposition, if appropriate):          /^^Adneyt
 Address:                                                 3 ^
                                                  OM^^




THIS BALLOT MUST BE RETURNED TO THE FOLLOWINGADDRESS ON OR
BEFORESe tember 10 2021.

        Matthew T. Christensen
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BALLOT FOR ACCEPTING OR REJECTING PLAN - Page 2
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 Attorney for Debtorin Possession

                            UNITED STATES BANKRUPTCY COURT

                                      DISTRICT OF IDAHO

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                                                  CaseNo. 20-40734-JMM

                                                  Chapter 11
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      ACCEPTANCEORREJECTIONOF THE DEWITDAIRY'SLI UIDATINGPLAN

         Theundersigned, an (^) unsecured, ( ) secured creditor ofthe above-named Debtor in the
 unpaidprincipal amount of$           '%~y« *f0
         (^-)r Accepts
         ( ) Rejects

 the Plan of the above-named Debtor.

 Print or type name ofbusiness/individual:                    ^/ ^?/          ^'a^-h&s ^C
 Signed:
 By (if appropriate):                                   Ofvt^v   Te4y    k   s''
 Its (state nature ofposition, if appropriate):
Address:                                          ^-Z7"/ . <3-5<ff^ ^.
                                                                   /^.




THIS BALLOT MUST BE RETURNED TO THE FOLLOWING ADDRESS ON OR
BEFORE Se tember 10 2021.

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      ACCEPTANCE OR REJECTION OF THE DEWIT DAIRY'S LI UIDATING PLAN

           Theundersigned, anC unsecured, ( ^secured creditor ofthe above-named Debtor inthe
 unpaidprincipal amountof$                I?2-0 » 41 ,
           ^ Accepts
           ( ) Rejects

 the Plan of the above-named Debtor.

 Printortypenameofbusiness/individual:            ntCirifniMlfl^--'- A. iCt\ . H^aHh,Iln6
 Signed:
 By (if appropriate):                             (^
 Its (state nature ofposition, if appropriate):          HC^T
Address:
                                                  C^-^^^I, U-V c^Z-^



 THIS BALLOT MUST BE RETURNED TO THE FOLLOWING ADDRESS ON OR
BEFORESe tember 10 2021.

           Matthew T. Christensen
           ANGSTMAN JOHNSON
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           Boise, ID 83702
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           Email: mtc@angstman.com




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BALLOTFORACCEPTINGORREJECTINGPLAN Page 2
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      ACCEPTANCEORREJECTIONOF THE DEWITDAIRY'SLI UIDATINGPLAN

        The undersigned, an QQunsecured, ( ) secured creditor ofthe above-named Debtor in the
 unpaidprincipalamountof$ ^ .^.^tf. ^ ,
            Accepts
       '( ) Rejects

 the Plan of the above-named Debtor.

 Print or type name ofbusiness/individual:
 Signed:
 By (if appropriate): . '
 Its (state nature of position, if appropriate): _Sr. ^r^. '/- /W-i,
Address:                                              I

                                                          O^^h^^g      (fSlft?^




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BEFORE Se tember 10 2021.

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BALLOTFORACCEPTINGORREJECTINGPLAN Page 2
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      ACCEPTANCE OR REJECTION OF THE DEWIT DAIRY'S LI UIDATING PLAN

         Theundersigned, an(^ unsecured, ( ) secured creditoroftheabove-named Debtorinthe
 unpaid principal amount of $       17 <^^. $ \ ,

             Accepts
        '( ) Rejects

 the Plan of the above-named Debtor.

 Print or type name ofbusiness/individual:
 Signed:
 By (if appropriate):                               .
 Its (state nature ofposition, if appropriate):     r. C
 Address:




THIS BALLOT MUST BE RETURNED TO THE FOLLOWING ADDRESS ON OR
BEFORE Se tember 10 2021.

        Matthew T. Christensen
        ANGSTMAN JOHNSON
        199 N. Capitol Blvd, Ste 200
        Boise, ID 83702
        Fax: (208) 629-2157
        Email: mtc@angstman. com




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 Facsimile: (208)629-2157
 Email:mtc@angstiiian.com

 Attorney for Debtor in Possession

                            UNITED STATES BANKRUPTCY COURT

                                      DISTRICT OF IDAHO

 In re:                                            Case No. 20-40734-JMM

 DEWIT DAIRY,                                      Chapter 11

                        Debtor.




                     BALLOT FOR ACCEPTING OR REJECTING PLAN

          The Debtor filed the Dewit Dairy's Liquidating Plan on the 28th day of February, 2021,
(Docket No. 127 - the "Plan"), in this case, and Dewit Dairy's First Amended Disclosure
Statement, on the 30th day ofApril, 2021, (Docket No. 187 - the "Disclosure Statement"). The
Disclosure Statement provides information to assist you in deciding how to vote your ballot.
That Disclosure Statement is available to you with the Plan. The approval of the Disclosure
Statementby the Court doesnot indicateapproval ofthePlanby the Court.

       You should review the Disclosure Statement and Plan before you vote. You may wish to
seek legal advice concerning the Plan and your classification and treatment under the Plan. Your
claim has been placed in a class described in the Plan. If you hold claims or equity interests in
more than one class you should submit a ballot for each class wherein you are classified, as you
are entitled to vote in each class.



       If your ballot is not received by the Debtor's counsel on or before the date specified
below, your vote will not count as either an acceptanceor rejection ofthe Plan.


       If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether
or not you vote. In the event the requisite acceptances are not obtained, the Court may
nevertheless confirm the plan if the requirements ofthe Bankruptcy Code are otherwise met
by the Plan.




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        ACCEPTANCE ORREJECTIONOFTHEDEWITDAIRY'SLI UIDATINGPLAN

  unpa,   dpSCTSI;oTsp<iJ^ed-c£)Tedcreditoroftheabovc-namedDebtorinthe
                                                     0»


                Accepts
            ( ) Rejects

  the Plan ofthe above-namedDebtor.
                                                -Q
  Print or type name ofbusiness/individual:     £^    AF   6 t.       er-k    2:^
  Signed:
  By (if appropriate):
  Its (statenatureofposition, ifappropriate):              <y»t
 Address:
                                                           1^0   f-
                                                                 ^
                                                                 ^
                                                                             ^J


 ^SO^eLO.LTf;2BO^RETURNED ToTHEFOLLOWINGADDRESSONOR
          MatthewT. Christensen
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BALLOTFORACCEPTING ORREJECTINGPLAN- Page 2
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 Attorney for Debtorin Possession

                            UNITEDSTATESBANKRUPTCYCOURT

                                      DISTRICT OF IDAHO

In re:                                            Case No. 20-40734-JMM

DEWITDAIRY,                                       Chapter 11

                        Debtor.




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      ACCEPTANCEORREJECTIONOF THE DEWITDAIRY'SLI UIDATINGPLAN

           Theundersigned, anOQunsecured, ( ) secured creditor ofthe above-named Debtor in the
 unpaidprincipal amount of$        ^7 I'?
           (>() Accepts
           ( ) Rejects

 the Plan of the above-named Debtor.

 Print or type name ofbusiness/individual:    ^l c     ^a     Pef/e        ,   jt   Inc
 Signed:                                                                                  ?(/&i^C2(
By (if appropriate): ,2^ a                                            r

Its (state nature ofposition, if appropriate): k^sr vY\o. y)
Address:

                                               G-        -z               3 0



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BEFORE Se tember 10 2021.

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